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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                  Hon. Cathy L. Waldor

           v.                              Magistrate. No. 18-7038 (CLW)

MELISSA REYNOLDS,                          CRIMINAL COMPLAINT
 a/k/ a "Melissa Shawn
  Reynolds-Herod,"
 a/k/ a "Melissa James,"
GERMAINE KING,
HENRY GRADY JAMES IV,
ARrHUR N. MARTIN, III, and
DANIEL K. DXRAMS,
 a/k/ a "Daniel Kusi,"
 a/k/a "Danny D. Dxrams,"
 a/k/ a "Randy N. Amoateng"

       I, Michael Hooper, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:

                             SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of
Investigation, and that this complaint is based on the following facts:

                             SEE ATTACHMENT B




Sworn to before me, and
subscribed in my presence

March 19, 2018                           at Newark, New Jersey
Date                                        City and State

Honorable Cathy L. Waldor
United States Magistrate Judge
Name & Title of Judicial Officer            Signature of Judicial Officer
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                               ATTACHMENT A

                               Count One
            (Bank Fraud-Elizabeth, New Jersey Residential Home)

     From in or about May 2014 through in or about October 2014, in Union
County, in the District of New Jersey, and elsewhere, defendant

                              Melissa Reynolds,
                    a/k/a "Melissa Shawn Reynolds-Herod,"
                           a/k/ a "Melissa James"

executed, and attempted to execute, a scheme and artifice to defraud a
financial institution, namely, the financial institution described in Paragraph
4a of Attachment B, and to obtain money, funds, and assets owned by and
under the custody and control thereof, by means of false and fraudulent
pretenses, representations, and promises, as described in Paragraphs 4c
through 4h of Attachment B, in violation of Title 18, United States Code,
Sections 1344 and 1349.
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                                   Count Two
             (Bank Fraud-Newark, New Jersey Residential Home)

     From in or about July 2014 through in or about May 2017, in Essex and
Union Counties, in the District of New Jersey, and elsewhere, defendant

                               Melissa Reynolds,
                    a/k/ a "Melissa Shawn Reynolds-Herod,"
                            a/k/a "Melissa James"

executed, and attempted to execute, a scheme and artifice to defraud a
financial institution, namely, the financial institution described in Paragraph
Sa of Attachment B, and to obtain money, funds, and assets owned by and
under the custody and control thereof, by means of false and fraudulent
pretenses, representations, and promises, as described in Paragraphs Sf
through Sp of Attachment B, in violation of Title 18, United States Code,
Sections 1344 and 1349.




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                                Count Three
                (Conspiracy to Commit Bank and Mail Fraud-
                   Hillside, New Jersey Residential Home)

     From in or about May 2016 through in or about June 2017, in Essex and
Union Counties, in the District of New Jersey, and elsewhere, defendants

                              Melissa Reynolds,
                   a/k/ a "Melissa Shawn Reynolds-Herod,"
                           a/k/a "Melissa James,"
                                     and
                            Henry Grady James IV

knowingly and intentionally conspired and agreed with each other and others
to:

           a.     execute a scheme and artifice to defraud a financial
                  institution, namely, the financial institution described
                  in Paragraph 6a of Attachment B, and to obtain money,
                  funds, and assets owned by and under the custody and
                  control thereof, by means of false and fraudulent pretenses,
                  representations, and promises, as described in Paragraphs
                  6c through 6g of Attachment B, contrary to Title 18, United
                  States Code, Section 1344, and

           b.     devise and intend to devise a scheme and artifice to defraud
                  the financial institution described in Paragraph 6a of
                  Attachment B and the United States Department of Housing
                  and Urban Development, and to obtain money and property
                  by means of materially false and fraudulent pretenses,
                  representations, and promises, as described in Paragraphs
                  6c through 6g of Attachment B, and for the purpose of
                  executing the scheme and artifice to defraud, caused to be
                  placed in a United States post office or other authorized
                  depository for mail matter, items to be delivered by the
                  United States Postal Service according to the directions
                  thereon, and caused to be deposited items to be sent and
                  delivered by private and commercial interstate carriers,
                  contrary to Title 18, United States Code, Section 1341.

            In violation of Title 18, United States Code, Section 1349.




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                                  Count Four
                 (Conspiracy to Commit Bank and Mail Fraud-
                  West Orange, New Jersey Residential Home)

     From in or about July 2016 through in or about February 2017, in Essex
and Union Counties, in the District of New Jersey, and elsewhere, defendants

                              Melissa Reynolds,
                   a/k/ a "Melissa Shawn Reynolds-Herod,"
                           a/k/a "Melissa James,"
                                     and
                             Arthur N. Martin, III

knowingly and intentionally conspired and agreed with each other and others
to:

            a.    execute a scheme and artifice to defraud a financial
                  institutions, namely, the financial institution described
                  in Paragraph 6a of Attachment B, and to obtain money,
                  funds, and assets owned by and under the custody and
                  control thereof, by means of false and fraudulent pretenses,
                  representations, and promises, as described in Paragraphs
                  7b through 7e of Attachment B, contrary to Title 18, United
                  States Code, Section 1344, and

            b.    devise and intend to devise a scheme and artifice to defraud
                  the financial institution described in Paragraph 6a of
                  Attachment B, and to obtain money and property
                  by means of materially false and fraudulent pretenses,
                  representations, and promises, as described in Paragraphs
                  7b through 7e of Attachment B, and for the purpose of
                  executing the scheme and artifice to defraud, caused to be
                  placed in a United States post office or other authorized
                  depository for mail matter, items to be delivered by the
                  United States Postal Service according to the directions
                  thereon, and caused to be deposited items to be sent and
                  delivered by private and commercial interstate carriers, as
                  set forth below, contrary to Title 18, United States Code,
                  Section 1341.

      In violation of Title 18, United States Code, Section 1349.




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                                 Count Five
                (Conspiracy to Commit Bank and Mail Fraud-
                     Bowie, Maryland Residential Home)

     From in or about June 2016 through in or about February 2017, in
Essex and Union Counties, in the District of New Jersey, and elsewhere,
defendant

                             Melissa Reynolds,
                  a/k/ a "Melissa Shawn Reynolds-Herod,"
                          a/k/a "Melissa James"

knowingly and intentionally conspired and agreed with Co-Conspirator One
and others to:

           a.    execute a scheme and artifice to defraud a financial
                 institutions, namely, the financial institution described
                 in Paragraph Ba of Attachment B, and to obtain money,
                 funds, and assets owned by and under the custody and
                 control thereof, by means of false and fraudulent pretenses,
                 representations, and promises, as described in Paragraphs
                 Be through Bg of Attachment B, contrary to Title lB, United
                 States Code, Section 1344, and

           b.    devise and intend to devise a scheme and artifice to defraud
                 the financial institution described in Paragraph Ba of
                 Attachment B, and to obtain money and property
                 by means of materially false and fraudulent pretenses,
                 representations, and promises, as described in Paragraphs
                 Be through Bg of Attachment B, and for the purpose of
                 executing the scheme and artifice to defraud, caused to be
                 placed in a United States post office or other authorized
                 depository for mail matter, items to be delivered by the
                 United States Postal Service according to the directions
                 thereon, and caused to be deposited items to be sent and
                 delivered by private and commercial interstate carriers,
                 contrary to Title lB, United States Code, Section 1341.

     In violation of Title lB, United States Code, Section 1349.




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                                   Count Six:
                       (Mail Fraud-Student Loan Fraud)

     From in or about January 2017 through in or about March 2017, in
Union County, in the District of New Jersey, and elsewhere, defendant

                              Melissa Reynolds,
                   a/k/ a "Melissa Shawn Reynolds-Herod,"
                           a/k/a "Melissa James"

knowingly and willfully devised and intended to devise a scheme and artifice to
defraud the United States Department of Education and to obtain money and
to obtain money and property by means of materially false and fraudulent
pretenses, representations, and promises, as described in Paragraphs 9b
through 9d of Attachment B, and for the purpose of executing the scheme and
artifice to defraud, caused to be placed in a United States post office or other
authorized depository for mail matter, items to be delivered by the United
States Postal Service according to the directions thereon, and caused to be
deposited items to be sent and delivered by private and commercial interstate
carriers, in violation of Title 18, United States Code, Sections 1341 and 1349.




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                               Count Seven
          (Conspiracy to Commit Mail Fraud-Luxury Vehicle Fraud)

     From in or about January 2017 through in or about March 2017, in
Union County, in the District of New Jersey, and elsewhere, defendants

                                Melissa Reynolds,
                    a/k/ a "Melissa Shawn Reynolds-Herod,"
                             a/k/ a "Melissa James,"
                               Germaine King, and
                               Daniel K. Dxrams,
                               a/k/ a "Daniel Kusi"
                            a/k/a "Danny D. Dxrams"
                           a/k/ a "Randy N. Amoateng"

knowingly and intentionally conspired and agreed with each other and others
to devise and intend to devise a scheme and artifice to defraud the companies
described in Paragraph l la of Attachment B, and to obtain money and
property by means of materially false and fraudulent pretenses,
representations, and promises, as described in Paragraphs 11 b through l li of
Attachment B, and for the purpose of executing the scheme and artifice to
defraud, caused to be placed in a United States post office or other authorized
depository for mail matter, items to be delivered by the United States Postal
Service according to the directions thereon, and caused to be deposited items
to be sent and delivered by private and commercial interstate carriers, as set
forth below, contrary to Title 18, United States Code, Section 1341, in violation
of Title 18, United States Code, Section 1349.




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                                 Count Eight
                         (Mail Fraud-Germaine King)

      In or about August 2014, in Union County, in the District of New Jersey,
and elsewhere, defendant

                                Germaine King

knowingly and willfully devised and intended to devise a scheme and artifice to
defraud the United States Department of Treasury and the entities described in
Paragraph 1Oc of Attachment B, and to obtain money and to obtain money and
property by means of materially false and fraudulent pretenses,
representations, and promises, as set forth below in Paragraphs 1Oc through
1Od of Attachment B, and for the purpose of executing the scheme and artifice
to defraud, caused to be placed in a United States post office or other
authorized depository for mail matter, items to be delivered by the United
States Postal Service according to the directions thereon, and caused to be
deposited items to be sent and delivered by private and commercial interstate
carriers, in violation of Title 18, United States Code, Sections 1341 and 1349.




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                                 Count Nine
                    (False Statements to the United States)

      On or about January 27, 2017, in Essex County, in the District of New
Jersey and elsewhere, defendants

                              Melissa Reynolds,
                   a/k/ a "Melissa Shawn Reynolds-Herod,"
                           a/k/a "Melissa James,"
                                     and
                                Germaine King

in a matter within the jurisdiction of the judicial branch of the United States,
namely, the United States District Court for the District of New Jersey,
knowingly and willfully made materially false, fictitious, and fraudulent
statements and representations and made and used false writings and
documents knowing them to contain materially false, fictitious, and fraudulent
statements and entries, as described in Paragraph 4m of Attachment B, in
violation of Title 18, United States Code, Sections 1001 and 2.




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                               ATTACHMENT B

       I, Michael Hooper, am a Special Agent of the Federal Bureau of
Investigation ("FBI"). My experience with the FBI, as a Special Agent and
Analyst, has included the investigation of cases involving various financial
frauds and other federal criminal violations of law. I have received training and
have gained experience in the investigation of various crimes, including fraud.
I have knowledge of the facts set forth herein through my personal
participation in this investigation and through oral and written reports from
other federal agents or other law enforcement officers. Where I assert that an
event took place on a particular date, I am asserting that it took place on or
about the date alleged. Where I assert a value or amount, I am asserting an
approximate value or amount. Where statements of others are related herein,
including statements that were consensually recorded, these statements are
related in substance and part. Because this Criminal Complaint is being
submitted for the limited purpose of establishing probable cause for the
issuance of arrest warrants against the named defendants, I have not set forth
every fact known to me or other law enforcement officers concerning this
investigation. Rather, I have only set forth those facts that I believe are
sufficient to show probable cause exists to believe that the defendants have
committed the offenses set forth in Attachment A.

The Defendants and Other Parties:

      1.    At all times relevant to this Criminal Complaint:

            a.   Defendant Melissa Reynolds, a/k/ a "Melissa Shawn
Reynolds-Herod" and "Melissa James" ("Reynolds"), was a resident of Elizabeth,
New Jersey, and employed at a hospital in New Jersey.

            b.    Defendant Germaine King ("King") was a resident of
Elizabeth, New Jersey and resided with Reynolds.

           c.    Henry Grady James IV ("James") was a resident of Hillside,
New Jersey and employed as a principal at a school in Essex County, New
Jersey.
           d.    Arthur N. Martin, III ("Martin") was a resident of West
Orange, New Jersey.

           e.    Daniel K. Dxrams, a/k/a "Daniel Kusi," "Danny D. Dxrams,"
and "Randy N. Amoateng" ("Dxrams") was a resident of Maplewood, New Jersey
and employed by the New Jersey Department of Children and Families.

            f.   An individual not named as a defendant herein was a co-
conspirator ("Co-Conspirator One").
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             Overview of the Conspiracy and Scheme to Defraud

       2.     Reynolds, King, James, Martin, Dxrams, and their co-conspirators
have conspired to and have defrauded and attempted to defraud corporations
and the United States through a fraudulent "debt elimination" scheme. In
total, Reynolds and her co-conspirators caused and attempted to cause over $3
million in financial losses.

      3.   As part of and in furtherance of the conspiracies and schemes to
defraud, Reynolds, King, James, Martin, Dxrams, and their co-conspirators:

            a.     made, used, and mailed wholly fraudulent money orders,
cashier's checks, and other fictitious documents to banks, mortgage lending
businesses and other lenders, and agencies of the United States, to unlawfully
payoff and discharge home mortgages, loans, and other legitimate debts;

            b.    made, used, and mailed false and fictitious documents to the
United States Department of Treasury ("Department of Treasury") and the
Internal Revenue Service ("IRS") to further the scheme; and

             c.      filed in federal court in the District of New Jersey false and
fraudulent documents and information to hamper, disrupt, and obstruct the
lenders' ability to lawfully collect debts.

                      Execution of the Scheme to Defraud

      4.     Financial Institution One and HUD (Elizabeth, New Jersey)

            a.     Financial Institution One, headquartered in Pennsylvania,
was a "financial institution" within the meaning of Title 18, United States Code,
Sections 20 and 27. Two mortgage service companies were subsidiaries of
Financial Institution One (collectively "Subsidiary One").l

            b.     In or about March 2013, Reynolds obtained a mortgage from
Financial Institution One, in the approximate amount of $417,276, for the
purchase of a residential home in Elizabeth, New Jersey (the "Elizabeth
Residence"). This loan was secured by a mortgage on the Elizabeth Residence.
In exchange for this loan, Reynolds, as sole borrower, agreed to repay the

        1.     A private corporation owned (1) Financial Institution One; and (2) a
mortgage service company with the initials S.M.S. S.M.S. collected and processed
mortgage payments on behalf of Financial Institution One. S.M.S. sub-contracted the
collection of Reynolds' mortgage payments to a second mortgage service company with
the initials R.C. Ultimately, S.M.S. acquired R.C.'s mortgage service business.
Accordingly, S.M.S. and R.C. are collectively referred to as "Subsidiary One.''



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loan's principal sum plus interest within thirty years. Thereafter, Reynolds
ceased paying the mortgage payments, causing her to default on the loan.

             c.    In or about May 2014, Reynolds mailed and caused to be
mailed a fraudulent Money Order, purportedly issued or processed by the IRS
and in the amount of $432,000, to Financial Institution One/ Subsidiary One
as a payoff of the Elizabeth Residence mortgage. Reynolds signed the
fraudulent Money Order and used her own social security number as the
purported account number. A redacted image of this fraudulent Money Order
is provided below:


                                                              MONEY ORDER
   Date: M111• 15, 2014                                                                      Tnddng No.: REUB Zin s44 llS

   Pay to tht ordcror:•••'~ferJir:J.!!~a;:.ue:J:Se~nl:l£'1c::£!c¥~----------'or                                  s   :lJUU.fUlll

   Pay: foyr h11ntlud tlrirtr l!rt! thpuyqnd q11d (J(J/11'0                                                                        DOLLARS

   Memo: feurtt11wntr1£1rrt!flnlnut111Hm                 !816


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                      d.           This Money Order is fraudulent for the following reasons:

                   (1)   It is not a genuine negotiable or monetary instrument.
It was not issued by the United States Government, any agency of the federal
government (including the IRS), or any legitimate bank. It cannot be processed
or cleared through the Federal Reserve or any bank because it is not drawn on
any legitimate government and banking institution with an account containing
funds. It is a complete fraud.

                   (2)   It does not contain a Magnetic Ink Character
Recognition ("MICR") line. A MICR line contains essential information used by
the Federal Reserve and financial institutions to process certain monetary
instruments, such as checks, money orders, and cashier's checks. The MICR
line contains a unique font and is made with magnetic ink or toner so
computers can read the information. Legitimate Treasury checks, U.S. Postal
Money orders, bank/ cashier's checks, and checks contain MICR lines
corresponding to legitimate institutions and accounts.




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                 (3)    The purported sub-agency or department - "IRS
Technical Support Division, c/ o The Treasury UCC [Uniform Commercial Code]
Trust Department of the IRS" - does not exist.

                    (4)    The United States Government does not issue single
Money Orders exceeding approximately one thousand dollars. Furthermore,
unlike typical checks, money orders are prepaid. Your Affiant has analyzed
Reynolds' and Kings' known bank records, and they did not have $432,000,
individually or collectively, in assets in any account at any time.

                  (5)  The Money Order falsely suggests that an account
corresponding to Reynolds' social security number exists with the United
States Government, as demonstrated by the endorsement on the fraudulent
Money Order provided below (redacted): 2




        2.     Reynolds and King have made and used numerous documents espousing
this fraud. For example, on or about January 27, 2017, as part of a lawsuit ftled in
the District Court for the District of New Jersey, Reynolds and King publicaly filed an
exhibit titled, "Declaration of Lawful Occupancy and Order to Validate/ Prove the
Existence of a Debt." In their exhibit, Reynolds and King asserted that they are a
"United States public trust" known as "The Estate." Furthermore, in this exhibit, they
jointly represented "we are aware that the funds used to acquire the property herein
[the Elizabeth Residence] ... are funds that originated from the U.S. Trust account of
This Estate [sic] .... "


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           e.     The Money Order also included a corresponding "Money
Order Receipt." A redacted image of this fraudulent receipt is provided below:

   Date Issued    May 15, 2014
                    s?1s//'I
   Amount   $432,000.00
            ~if 3..(, tJOlJ. 67>

   Payee                 Mortgage Services



            New York, NY 10017


   Account - 1 8 5 1

             ftfe.//:sscc... 'ShuwYI '1<e1no/t:/ .s / Es{a:le
   Maker    MELISSA SHAWN          REYNOLDS, Estate.
            Office of the General Executrax


            Umon; New Jersey; Umted States of America; (070831


   Memo     For settlement of account number:




            f.    On or about May 15, 2014, Reynolds mailed a letter to the
Chief Financial Officer of Financial Institution One. In this letter, she
demanded that Financial Institution One accept the Money Order and
discharge her mortgage on the Elizabeth Residence. A similar letter was used
by King (see Paragraph 1Ob below).

            g.   After Subsidiary One received the fraudulent Money Order
and corresponding receipt, the Money Order was sent to a bank for deposit.
Although the bank immediately rejected the fraudulent Money Order,
Subsidiary One erroneously credited it as a payoff of the mortgage on the
Elizabeth Residence.

            h.     As a result of her scheme, Reynolds fraudulently obtained
the discharge of the mortgage on the Elizabeth Residence. Because Reynolds
tricked Financial Institution One into discharging the mortgage, in or about
October 2014, Financial Institution One sent Reynolds a refund of
approximately $9, 789 (the difference between the face value of the Money
Order and the total amount owed on the mortgage). Financial Institution One
also sent Reynolds a letter, advising her to discontinue paying her mortgage.


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             i.    Thereafter, Subsidia:ry One determined that the discharge of
the mortgage on the Elizabeth Residence had been fraudulently obtained and
instituted a lawsuit in the Superior Court of New Jersey, Union County,
Chance:ry Division - General Equity Part, to reinstate the mortgage (the "Union
County Litigation"). The lawsuit was assigned to a New Jersey Superior Court
Judge (the "State Judge").

           j.     In or about early Janua:ry 2017, before a scheduled court
appearance, Reynolds called a representative ("Representative") of Subsidia:ry
One. 3 During this phone call, Reynolds stated the following, in substance and
in part:
                  My husband [King] and I, he's here with me actually as well,
                  we're confused with the issue . . . . we're confused because
                  we know we paid our loan, [we] satisfied the loan with
                  [Financial Institution One], we have a letter from you guys
                  stating that we satisfied the loan .... we know that, but I
                  have to be able to go bring that document into court . . . .

During this call, Reynolds requested the Representative provide her with a
certified letter or affidavit, stating that the mortgage had been paid off.
Reynolds advised the Representative that she needed this letter or affidavit for
the Union County Litigation. The Representative did not provide Reynolds with
such a letter or affidavit.

              k.     Thereafter, Reynolds fabricated and caused to be fabricated
a fictitious letter, purportedly issued by Subsidia:ry One. This letter contained
the forged signature of the Representative 4 and falsely represented that the
loan on the Elizabeth Residence had been paid in full. On or about March 13,
201 7, Reynolds submitted this fraudulent letter to the District Court in the
District of New Jersey (See Paragraph 4m below concerning this federal
lawsuit).

            1.     On or about Janua:ry 13, 2017, Reynolds completed and
mailed to the IRS a Form 1096, Annual Summa:ry and Transmittal of U.S.


      3.      Reynolds and King surreptitiously recorded this phone conversation to
use during the Union County Litigation. Subsidiary One obtained this recording
during that litigation.

        4.   As part of the Union County Litigation, the Representative signed under
penalty of perjury a certification, asserting that he had reviewed this letter and that he
had neither authored nor signed it. Furthermore, the Representative was interviewed
by federal agents, and the Representative again confirmed that letter was wholly
fictitious.



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Information Returns (2016), together with a Form 1099-A, Acquisition or
Abandonment of Secured Property (2016). 5 On the Form 1099-A, Reynolds
falsely represented that (1) she had given a $450,000 loan to the State Judge
as "credit used on court judgment;" (2) the State Judge was personally liable
for this loan; and (3) the Union County Litigation docket number was the
account number for the purported loan.

             m.     On or about January 27, 2017, Reynolds and King filed a
lawsuit in federal court in the District of New Jersey. In their lawsuit, they
jointly sought to remove the Union County Litigation from state court into
federal court, alleging, among other things, that Subsidiary One had violated
federal law by seeking to reinstate the Elizabeth Residence mortgage. On or
about January 27, 2017, as part of their federal lawsuit, Reynolds and King
publicaly filed a copy of the sham Money Order receipt, as described in
Paragraph 4e above, as "evidence" that they had paid the mortgage on the
Elizabeth Residence (Docket No.: 17-605, Filed 1/27 /17, Document 1-2, at p.
65). In this federal lawsuit, Reynolds and King demanded approximately
$90,000,000 in damages from Subsidiary One. The federal court dismissed
their lawsuit and remanded it back to state court.

             n.     On or about November 14, 2017, the State Judge reinstated
the mortgage and ordered Reynolds and King to pay $417,276 (plus post-
judgment interest). 6 In its publicaly filed "Statement of Reasons," the Court
found "Reynolds' testimony to be incredible and ordered [her] to pay counsel
fees [consistent with New Jersey's rule authorizing the imposition of the
payment of attorney fees where the court finds a party submitted affidavits in
bad faith or for the purpose of delay]." The Court also found that Reynolds had
committed fraud in her effort to discharge the mortgage, stating:

             [Reynolds and King] at all times contend that the money
             order they sent to satisfy their mortgage was valid. . . . The
             only response [Reynolds and King] raise as to the fact that
             the money was not backed up by funds is Ms. Reynolds'
             statement that the money order was valid. When asked by
             the court [concerning] the source of the funds to pay the


       5.     A Form 1099-A is used when a lender requires a loan to be secured by
the purchased property. If the lender subsequently cancels the loan, the borrower
may be required to include the amount of the canceled debt in his or her gross
income. On the Form 1099-A, the lender reports the amount of the debt owed
(principal only) and the fair market value of the secured property as of the date of the
acquisition or abandonment of the property. The debtor then uses the amount
realized to determine a gain or loss on the disposition of the property.

      6.     The State Judge was unaware of the bogus IRS filing described in
Paragraph 41 above at the time she issued her order.


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            $417,276.00 to [Subsidiary One], Ms. Reynolds stated that it
            came from 'one of her bank accounts and she could not
            recall which account. The court found her testimony
            incredible .... The court finds that [Reynolds and King]
            remitted a fraudulent money order to [Financial Institution One] in
            an attempt to discharge the mortgage.

      5.    Financial Institution Two and HUD (Newark, New Jersey}

              a.    Financial Institution Two, headquartered in Minnesota, was
a "financial institution" within the meaning of Title 18, United States Code,
Sections 20 and 27. A mortgage service company was a subsidiary of Financial
Institution Two ("Subsidiary Two").

             b.     In or about February 2009, Reynolds obtained a mortgage
from a financial institution, in the approximate amount of $314,204, for the
purchase of a residential home in Newark, New Jersey (the "Newark
Residence"). This loan was secured by a mortgage on the Newark Residence.
In exchange for this loan, Reynolds, as sole borrower, agreed to repay the
loan's principal sum plus interest within thirty years. In addition, this
mortgage was federally insured by the Federal Housing Administration ("FHA"),
U.S. Department of Housing and Urban Development ("HUD"), an executive
agency of the federal government. FHA mortgage insurance provides lenders
with protection against losses in the event a homeowner defaults on his or her
mortgage loan. With FHA loans, lenders bear less risk and are thus more
willing to provide home loans for individuals whom ordinarily would not qualify
for such loans.

            c.   Thereafter, Financial Institution Two acquired the mortgage,
and Subsidiary Two serviced it. In or about early 2014, Reynolds ceased
paying the mortgage payments, causing her to default on the loan.

             d.  In or about March 2014, a company acting on behalf of HUD
("Collection Company One") and in response to Reynolds' request advised her
that she owed approximately $92,329 to HUD as a partial payoff on the Newark
Residence mortgage.

            e.     In or about July 2014, Reynolds mailed a fraudulent Money
Order and receipt in the amount of $92,329.89 to Collection Company One as
an attempted payoff to HUD. Reynolds signed this Money Order, and the
Money Order and receipt are substantially similar to the fraudulent Money
Order and receipt set forth in Paragraphs 4c and 4e above. The Money Order is
fraudulent for the same reasons set forth in Paragraph 4d above. On or about
January 13, 2017, Reynolds mailed the IRS a Form 1099-A, falsely
representing that she had given a $92,330 loan to the HUD as "credit used on
mortgage account."

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            f.     On or about July 29, 2014, Reynolds mailed a fraudulent
Money Order, in the amount of $252,000, to Financial Institution Two as a
purported payoff of the mortgage on the Newark Residence. The Money Order
also included a receipt. A redacted image of the receipt is provided below:

                                      MONEY ORDER RECEIPT


        Registration Number: RE 212 26l 438 IJS .. 4


        Date Issued: .luly 29, 2014


        Amount: S252,000,00


        Payee:                         MORTGAGE


                 MINNEAPOLIS. MN 55402




        Maker:   ..MELISSA SHAWN          REYNOLDS, Estate.
                 ()ffic,:e of the Gen<;ral Executrix


                 tlnjon; New .len;n; United Stares of Am<;rjca; !0706,31


        Memo:    For settlement qfacc<>unt number;



As part of this investigation, federal agents obtained this original receipt and
had it forensically analyzed at the Department of Treasury's Forensic and
Digital Science Laboratory. This analysis determined that the print on this
receipt corresponds to the right thumb print of Reynolds on file with law
enforcement.

             g.   In or about late 2015, Financial Institution Two instituted
foreclosure proceedings in Superior Court of New Jersey, Essex County,
seeking to, among other things, take physical possession of the Newark
Residence (later amended in late 2016 seeking the same relief)(the "Essex
County Foreclosure Proceeding").

             h.   Beginning in or about May 2016, in an attempt to
fraudulently deceive and trick Financial Institution Two into discharging the
mortgage on the Newark Residence, Reynolds mailed Subsidiary Two
additional fraudulent payments, as described below.




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                  i.    On or about June 17, 2016, Reynolds mailed a fraudulent
      Money Order and receipt to Subsidiary Two as a payoff of the Newark
      Residence mortgage. This fraudulent Money Order was not accepted as
      payment toward the mortgage. A redacted image of this fraudulent Money
      Order is provided below:

                                                                ---- ------·-~------------·<"-·. . -• -- -----•<•

                                                                 MONEY ORDER
     Date: J1111e 1, 2'J16
                                                                                                          Tracking No.; RE 124451 W lJS
     Pay to the order of: - -...¥...,q"""rt~liWli'e.__ _ _ _ _ _ _ _ _ _ _ __
                                              .      -                                                                 for$ 2S2.000.00

     Pay: Tl!l9 butufttti (!fty tlPO tlumsqd anti fJO//Oil
                                                                                                                                              DOLLARS
     Memo: Fw sf!!f/(llwtt fdflCGttllnt mpn/Jo               UfJ99                                                                           PIP
;I   ·~
     ~··'-------------....,
                                                                                       By:   ®@~~ZA/IJitrix.
          MELISSA SHA.JPN HER.OD REYNOLDS, &lat&
                                                    Unfo11;            P........,..,         IRS Ttclhllcal $uppot1 Dl•illoo      •
          New Jersey; United States ofAmerica; {01083/                                       rlo 1lir Tmuury UCC C..ql""'t T.....i lltperOnmt ofll>r   ms
                                                                                             D<partme11t of Ille Tmnllr')'
                                                                                             ISUO f'm!IS)inmln A - NW
                                                                                             w-....-. u.c '20ll0



                   j.    In response to this fraudulent Money Order and receipt,
      Subsidiary Two sent a letter to Reynolds, dated June 22, 2016. This letter
      stated the following, in substance and in part:

                              Dear Mortgagor [Reynolds]:

                              [Subsidiary Two] is in receipt of correspondence regarding
                              the [mortgage on the Newark Residence] for which you are
                              the borrower. The package received contained the following:

                              Money Order Receipt
                              Money Order from the Office of the General Executrix

                              It is the Bank's opinion that the request does not accord with
                              the loan agreement or established legal and regulatory
                              parameters for the repayment and collection of mortgage
                              debt. The Bank will continue to service your loan . . . .

                              [Financial Institution Two] wishes to warn you that certain
                              unethical persons have developed and published schemes
                              that promise mortgagors valid and legal processes for
                              extinguishing their debts or proving their debts invalid. If
                              you think that you have been misled by such a person, then



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            you may wish to report your situation to law enforcement
            authorities.

            k.     In or about February 201 7, Reynolds and King sought to
remove the Essex County Foreclosure Proceeding from state court into federal
court in the District of New Jersey. As part of their federal lawsuit, Reynolds
and King filed certain documents with the Court that contained materially false
statements and representations and covered up and concealed certain material
facts, including the following:

                 (1)    "Statement of Account," dated July 22, 2016. In this
document, Reynolds falsely represented that she had paid approximately
$504,000 to Financial Institution Two in 2014 and thus owed the entity $0.
(ECF, 2:17-cv-00657, p. 155).

                   (2)   "Affidavit of Truth," dated July 22, 2016. In this
document, Reynolds falsely claimed that she had "paid over $100,000 in
federal reserve notes from February of 2009 until March 2014, in satisfaction
of the [mortgage on the Newark Residence]."(ECF, 2:17-cv-00657, p. 156-157).

                   (3)    "Affidavit and Notice," dated November 20, 2016. In
this document, Reynolds and King falsely asserted the following: ''THERE IS NO
DEBT OWED IN THE MATIER ... [to Financial Institution Two] .... I do not
owe for the alleged debt, debt has been paid in by bond.... " ].(ECF, 2: l 7-cv-
00657, p. 170).

The federal court ultimately dismissed Reynolds' and King's removal action.




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            1.    In or about early March 201 7, Reynolds sent another
fraudulent payment to Subsidiary Two, namely, a bogus Cashiers [sic] Check
purportedly issued or guaranteed by the Department of Treasury. A redacted
image of this Cashier's Check is provided below:


  «»PRIVATE ISSUE«»
                                                                                  «»P•IVA1£ Tssur«»
  Private Banker· Acaedited Investor
  MeQssa Shawn kin of Reynolds                                            No.     0083
  llJew Jersey Republic                                                   Date: March 11, 2017
 '';'t·Domestk, Without the United States
 .....;,                                                                    - . ... ,,,z.......u,,.,.,
                                                                                ,,_......,,....,,,,,,
                                                                         MIWUJ1m118-1lo<....,.ou1..,.,.




           m.                 This Cashier's Check is fraudulent for the following reasons,
among others:

                   (1)   It is not a genuine negotiable or monetary instrument.
It was not issued by the United States Government, any agency of the federal
government (including the Department of Treasury). or any legitimate bank. It
cannot be processed or cleared through the Federal Reserve or any bank
because it is not drawn on any legitimate government and banking institution
with an account containing funds. It is a complete fraud.

                 (2)   The MICR line neither contains a legitimate bank
routing number nor a legitimate account number. The purported account
number in the MICR line is actually Reynolds' social security number (redacted
in part).

                  (3)    The Cashier's Check creates the false illusion that an
account corresponding to Reynolds' social security number exists with the
United States Government-namely, the "United States Citizen Trust Melissa
Shawn Reynolds[.] Except Priority Pre-Paid Account No. [Reynolds' social
security number]. No such account exists.




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              n.    In response to the fraudulent Cashier's Check described
above, Subsidiary Two sent another letter to Reynolds, dated March 13, 2017.
This letter stated the following, in substance and in part:

                  [Subsidiary Two] has received your most recent
                  correspondence. We understand you believe or have
                  asserted that you have no further obligation related to loan
                  number [account corresponding to the Newark Residence].
                  which [Subsidiary Two] has responsibility for servicing.
                  [Financial Institution Two] disagrees with your conclusion
                  about your obligation and will continue to act as servicer for
                  [the mortgage on the Newark Residence] ....

            o.   In or about mid-March 2017, Reynolds sent a third
fraudulent payment to Subsidiary Two, namely, a Cashier's Check in the
amount of $350,000. This fraudulent Cashier's Check was not accepted as
payment toward the mortgage.

            p.   In or about May 2017, Reynolds sent a fourth fraudulent
payment to Subsidiary Two, namely, a Cashier's Check in the amount of
$350,000. This fraudulent Cashier's Check was not accepted as payment
toward the mortgage.

      6.    Financial Institution Three and HUD (Hillside, New Jersey)

             a.     Financial Institution Three, headquartered in New York, was
a "financial institution" within the meaning of Title 18, United States Code,
Sections 20 and 2 7.

             b.    Reynolds and James were previously married. They divorced
in 2008. As part of their divorce, James obtained sole ownership of a residence
in Hillside, New Jersey (the "Hillside Residence"). The mortgage is held by
Financial Institution Three and was FHA insured.

             c.   Beginning in or about May 2016, Reynolds and James
mailed fraudulent payments to Financial Institution Three, HUD, and a
collection company working on behalf of HUD ("Collection Company Two") as
attempted payments toward or payoffs of the Hillside Residence mortgage. For
example, on or about May 27, 2016, James mailed and caused to be mailed a
fraudulent Money Order in the amount of $305,000 to Financial Institution
Three. A redacted image of this fraudulent Money Order is provided below:




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                                                               MONEYOROER

     Payt<>lheorderof:      -~~·-----·----



                                                                                By:                                                • executor.
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                                                                                      \V~hf1m~tmJ~ 1).{'         Zil11J!




             d.    J arnes and Reynolds mailed and caused to be mailed other
fraudulent payments to Financial Institution Three, HUD, or Collection
Company Two, as attempted payments or payoffs of the mortgage on the
Hillside Residence:

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                                  Pavee                   ----"-<-
                                                                     Aniounf·    ····.·;       -General Descfiptio:ri .·
June 8, 2016                      Collection  $92,393                                           Fraudulent Money Order,
                                  Company Two                                                   bearing James' signature
                                                                                                social security number and
                                                                                                purportedly issued or
                                                                                                processed by the IRS (with
                                                                                                fraudulent receipt).
June 8, 2016                      HUD                                $92,393                    Fraudulent Money Order,
                                                                                                bearing J arnes' signature
                                                                                                social security number and
                                                                                                purportedly issued or
                                                                                                processed by the IRS (with
                                                                                                fraudulent receipt).
 June 20, 2016                    Financial                          $305,000                   Fraudulent Money Order,
                                  Institution                                                   bearing James' signature
                                  Three                                                         social security number and
                                                                                                purportedly issued or
                                                                                                processed by the IRS (with
                                                                                                fraudulent receipt).




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 June 21, 2016                     $92,393         Fraudulent Money Order,
                                                   bearing James' signature
                                                   social security number and
                                                   purportedly issued or
                                                   processed by the IRS (with
                                                   fraudulent recei t).
June 19, 2017     Financial        $322,000        Fraudulent Cashier's Check,
                  Institution                      bearing Reynolds' signature
                  Three                            and social security number,
                                                   that falsely claimed to be
                                                   issued by the Department of
                                                   Treasu .

            e.    The above Money Orders and Cashier's Check are fraudulent
for the same reasons set forth in Paragraphs 4d and Sm above.

             f.    James also completed and signed two Forms 1096 and
mailed them to the IRS, together with Forms 1099-A. Federal agents have
obtained these original documents. Although each Form 1099-A contains
information pertaining to James (including his social security number). the
information appears to have been written by Reynolds. In summary, on these
Forms 1099-A, James and Reynolds made the following false statements to the
IRS: (1) James had given a $92,393 loan to HUD as "credit used on mortgage
account"; (2) James had given a $92,393 loan to Collection Company Two as
"credit used on mortgage account"; and (3) James had given a $299, 148 loan to
Financial Institution Three as "credit used on mortgage account."

             g.    In or about October 2016, Financial Institution Three
instituted a lawsuit in New Jersey Superior Court, Union County, Chancery
Division to foreclose on the Hillside Residence. Financial Institution Three
alleged that James defaulted on the mortgage. Thereafter, on or about January
27, 2017, Reynolds and James filed a lawsuit in federal court in the District of
New Jersey. In their lawsuit, they jointly sought to remove this foreclosure
proceeding from state court into federal court, alleging, among other things,
that Financial Institution Three was a "debt collector ... attempting to collect a
debt that does not exist." On or about June 19, 2017, Reynolds and James
failed to appear in federal court, as ordered, and the Court dismissed their
lawsuit and remanded it back to state court.

            h.    As a further part of the scheme to reduce and eliminate legal
debt and obligations, James submitted false and fraudulent documents to the
Department of Treasury in an effort to have the federal government pay for his
lawful debts and credit obligations from a non-existent account. For example:



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                    (1)  In or around June 2016, James received a cable bill
from his cable/internet service provider at the Hillside Residence in the
amount of approximately $184. On the face of the bill, James stamped and
wrote: "ACCEPTED FOR VALUE WITHOUT RECOURSE .... PAY TO THE U.S.
DEPARTMENT OF TREASURY AND CHARGE THE SAME TO HENRY JAMES
[his social security number]. James then signed it. On the bottom of the bill,
James wrote: "Pay to the order of the United States Treasury in the amount of:
[$360]." James also completed a Form 1040-V, Payment Voucher, falsely
claiming he was paying the United States $360 for the cable bill. On or about
June 22, 2016, via United States mail, James sent the cable bill (as described
above) and the Form 1040-V to the Department of Treasury.

                    (2)  In or around June 2016, James received a water bill
from his water utility company at the Hillside Residence in the amount of
approximately $59.60. On the face of the bill, James stamped and wrote:
"ACCEPTED FOR VALUE WITHOUT RECOURSE .... PAY TO THE U.S.
DEPARTMENT OF TREASURY AND CHARGE THE SAME TO HENRY JAMES
[his social security number]. James then signed it. On the top of the bill,
James wrote: "Pay to the order of the United States Treasury in the amount of:
[$140]." James also completed a Form 1040-V, Payment Voucher, falsely
claiming he was paying the United States $140 for his water bill. On or about
June 27, 2016, via United States mail, James sent the water bill (as described
above) and the Form 1040-V to the Department of Treasury.

                    (3)     In or around June 2016, James received an electric
bill from his electric utility company at the Hillside Residence in the amount of
approximately $283. On the face of the bill, James stamped and wrote:
"ACCEPTED FOR VALUE WITHOUT RECOURSE .... PAY TO THE U.S.
DEPARTMENT OF TREASURY AND CHARGE THE SAME TO HENRY JAMES
[his social security number]. James then signed it. On the bottom of the bill,
James wrote: "Pay to the order of the United States Treasury in the amount of:
[$300]." James also completed a Form 1040-V, Payment Voucher, falsely
claiming he was paying the United States $300 for his electric bill. On or about
June 22, 2016, via United States mail, James sent the electric bill (as
described above) and the Form 1040-V to the Department of Treasury.

      7.    Financial Institution Three (West Orange, New Jersey)

             a.     In or about 2007, Martin obtained a mortgage from a
financial institution, in the approximate amount of $297 ,000, for the purchase
of a residential home in West Orange, New Jersey (the "West Orange
Residence"). This loan was secured by a mortgage on the West Orange
Residence. In exchange for this loan, Martin, as sole borrower, agreed to repay
the loan's principal sum plus interest within thirty years. Thereafter, this
mortgage was acquired by Financial Institution Three. In or about July 2014,


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Martin ceased paying the mortgage payments, causing him to default on the
loan.

            b.    Beginning in or about July 2014, Reynolds and Martin
mailed fraudulent payments to Financial Institution Three as attempted payoffs
of the West Orange Residence mortgage. On or about July 29, 2014, Martin
mailed Financial Institution Three a fraudulent Money Order in the amount of
$245,330. A redacted image of this fraudulent Money Order is provided below:


                                                           MONEY ORDER
     Date: July 29, 1914                                                                            Tracking No.: RB 771062043 US

     Pay to the order of:                        =CO~-----~------for S UWtJ.00

                                                                                                                                              DOU.A RS

     Memo: Eor utt/flltlltl ofaccount numl!er:
     .---------------.
                                                         0777
                                                                                 By:   ~~newtor.
                                                                                         Aillh<.....SS~
      ------W.wOrange;
       ARTHl/R NATHAN/££ MARTIN Ill, &tale.

        New Jenq; unitetl Stllfll$ nfAmerica; /07rJJ2/
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     Account No.:-~79::..:!.S"'-S_ _ __                                                w-.1-1>.c. 2ono



             c.    Martin and Reynolds mailed and caused to be mailed other
fraudulent payments to Financial Institution Three as attempted payments or
payoffs of the mortgage for the West Orange Residence, as follows:

Date                              Affiohnt                 General Descn tion·· / Remwks
June 20, 2016                     $230,000                 Fraudulent Money Order, bearing Martin's
                                                           signature social security number and
                                                           purportedly issued or processed by the IRS
                                                           (with fraudulent recei t).
 February 2, 2017                 $225,000                 Fraudulent Cashier's Check, bearing
                                                           Reynolds' signature and social security
                                                           number, that falsely claimed to be issued by
                                                           the De artment of Treasu

            d.    The above Money Orders and Cashier's Check are fraudulent
for the same reasons set forth in Paragraphs 4d and Sm above.

            e.    As a further part of the scheme to reduce and eliminate legal
debts and obligations, Martin submitted false and fraudulent documents to the
Department of Treasury in an effort to have the federal government pay for his
lawful debts and credit obligations from a non-existent account. For example:



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                  (1)       In or around May 2016, Martin received an electric
bill from his electric utility company at the West Orange Residence in the
amount of approximately $1, 901 (which amount included a balance from a
prior bill). On the face of the bill, Martin stamped and wrote: "ACCEPTED FOR
VALUE WITHOUT RECOURSE [in red ink] .... PAY TO THE U.S.
DEPARTMENT OF TREASURY AND CHARGE THE SAME TO ARTHUR MARTIN
[his social security number]. Martin then signed it. On the bottom of the bill,
Martin wrote: "Pay to the order of the United States Treasury in the amount of:
[$1,901.79]." Martin also completed a Form 1040-V, Payment Voucher, falsely
claiming he was paying the United States $1,901.79 for his electric bill. On or
about June 17, 2016, via United States mail, Martin sent the electric bill (as
described above) and the Form 1040-V to the Department of Treasury.

                    (2)   Martin also completed and signed a Form 1096 and
sent it to the IRS, together with a Form 1099-A. Federal agents have obtained
these original documents. Although the Form 1099-A contains information
pertaining to Martin (including his social security number), the information
appears to have been written by Reynolds. In summary, on the Form 1099-A,
Martin and Reynolds made the following false statements to the IRS: (1) Martin
had given a $225,000 loan to Financial Institution Three as "credit used on
mortgage account"; and (2) Martin had given a $1,901.79 loan to his electric
utility company as "credit used on utility account."

      8.    Financial Institution Four (Bowie, Maryland)

             a.     Financial Institution Four, headquartered in California, was
a "financial institution" within the meaning of Title 18, United States Code,
Sections 20 and 27.

              b.    According to records from Financial Institution Four, it owns
and services a mortgage on a residential property in Bowie, Maryland (the
"Maryland Residence"). In or about June 2016, Financial Institution Four sent
a "notice of intent to foreclose" to the residents of the Maryland Residence.




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           c.     On or about June 12, 2016, Co-Conspirator One sent a
fraudulent Money Order in the amount of $220,000 to Financial Institution
Four. A redacted image of this fraudulent Money Order is provided below:


                                                                                              MONEY ORDER
       Date: ,lune 13, lfJ16                                                                                                 Tracking No.: RB 772 h6' Mi 1!,S

       Pay to the order of: -                                                                                                          for   $~.,~''-~fi~tm~o._tm_ _ __

       Pay:      Two huwlwf. rwenl,,V 1l1ttall{ltJd awl WlQ,O                                                                                              DOLLARS




                                                                                   Est.ate.
                                                       Bowie;
           f.'faryla11d; United States of America; {21J721]




             d.    The above Money Order is fraudulent for the same reasons
set forth in Paragraph 4d above.

            e.    On or about February 2, 2017, Co-Conspirator One mailed a
fraudulent Cashier's Check in the amount of $226,000 to Financial institution
Four as an attempted payoff of the Maryland Residence mortgage. This
fraudulent Cashier's Check contains Reynolds' name and her social security
number; however, Reynolds' last name on the signature is misspelled. A
redacted image of this fraudulent Cashier's Check is provided below:

 ;A~f(!!it:;;i:tv;i;lll:1tr.,Jc:-o':.,·;·='l·1:.;.~'l'.1b"W:;;:_,;;,;\1:1t1I 1.1     .~at; a 11a1ws•.• l!iilliJWNili!D~IY~f>':!!f.1"l71l'li~l'l.l:.E~1~~.:::vc.;,;\y;
                                                                                                                                               «>PIUVATC IHUeO




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            f.     The above Cashier's Check is fraudulent for the same
reasons set forth in Paragraph 5m above.

           g.    An analysis of Reynolds' e-mail transaction records reveals
that Reynolds communicated with one of the residents of the Maryland
Residence on several occasions between 2016 and 201 7.

           9.                Student Loan Fraud

            a.     Beginning in or about 2009, Reynolds applied for financial
aid through the United States Department of Education ("ED"), an executive
agency of the federal government, to pay for student loans. In total, Reynolds
borrowed and received over $52,000 in student loans (subsidized and
unsubsidized) and was obligated to repay this loan to the United States. As of
July 2014, Reynolds owed a substantial amount of money to the United States
on these student loans.

            b.     Reynolds mailed fraudulent Money Orders and Cashier's
Checks, payable to the ED, to a company ("Collection Company Three") that
services student loans payments on behalf of the ED, as follows:

. o~te··•·.i.··.   ·.
                        .·
                                        Amount ... General Desctjptfoh l Remarks . · .
July 29, 2014                           $60,000 Fraudulent Money Order, bearing Reynolds'
                                                   signature and social security number and
                                                   purportedly issued or processed by the IRS
                                                   (with fraudulent receipt).
January 21, 2017                        $53,000 Fraudulent Cashier's Check, bearing
                                                   Reynolds' signature and social security
                                                   number, that falsely claimed to be issued by
                                                   the Department of Treasury.
 February 2, 201 7                      $14,000 Fraudulent Cashier's Check, bearing
                                                   Reynolds' signature and social security
                                                   number, that falsely claimed to be issued by
                                                   the Department of Treasury.
 February 23, 201 7                     $67,000 Fraudulent Cashier's Check, bearing
                                                   Reynolds' signature and social security
                                                   number, that falsely claimed to be issued by
                                                   the Department of Treasury.
 March 20, 201 7                        $67,000 Fraudulent Cashier's Check, bearing
                                                   Reynolds' signature and social security
                                                   number, that falsely claimed to be issued by
                                                   the Department of Treasury.

                                                  This check was payable to the "US
                                                  DEPARTMENT OF EDICATION." [sic].


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            c.    The above Money Order and Cashier's Check are fraudulent
for the same reasons set forth in Paragraphs 4d and 5m above.

             d.     In a letter dated March 13, 2017, Collection Company Three
mailed a letter to Reynolds. This letter stated the following, in substance and
in part: "ACTION NEEDED: Your previous payment could not be processed.
Please submit a new payment as soon as possible .... Your recent payment of
$67,000 could not be processed because your financial institution was unable
to process the transaction . . . ." As set forth above, Reynolds then mailed
Collection Company Three another fraudulent Cashier's Check in the amount
of$67,000.

             e.    On or about January 13, 2017, Reynolds completed and
mailed to the IRS a Form 1096, Annual Summary and Transmittal of U.S.
Information Returns (2016). As part of this transmittal form, Reynolds
completed and included a Form 1099-A. On this form, Reynolds falsely
represented that she had given a $65,000 loan to Collection Company Three as
"credit used on student loan account." On this form, Reynolds represented
that Collection Company Three was personally liable for this loan. Reynolds
used her student loan account number as the account number for the
purported loan.

      10.   Fraud Committed by King

            a.     In or about August 2014, King mailed and caused to be
mailed to the Department of Treasury several fraudulent and fictitious
documents, including fraudulent money orders, as part of his scheme to
eliminate his lawful debts.

             b.      For example, in or about August 2014, King mailed the
following letter to the Department of Treasury in an effort to write off his then
existing delinquent debts (redacted):




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                                        GERMAINE HOWARD KING. Eswe.
                                             Otnee of The Executor.

                                                          Limon.
                                                    Nation New Jersey.
                                                 united States of America.
                                                       Near. [0703J]

                                  Done by the Light of the Day - of one August two zero one four.
                                                        RE919961 384 US


  To:      Attention: Rosie Rios, Treasurer
           U.S. Depanment ofThe Treasury
           1500 Pennsylvania Avenue, NW
           Washington, D.C. 20220
           U.S.A.

   From: Otnce ofThe Executor -GERMAINE HOWARD                      KING. Estate.

   Re:     Acceptance of Oath of Office and Appointm«it ofTrostee.


   Dear Rosie;

   Be advised that, as oe<:upant to the offroe of Executrix for the GERMAINE HOWARD KING. Estate. I,
   Germaine-Howard: Kint. the Living man, am hereby explicitly aeeepling your sworn Oath of omce, wherein
   )-OU have sworn to Honor and Defend the Constitution of the United States, which secures all rights granted to
   "1<: by m:>· Creator. Be also advised and let the record show that as an agent of the United States, you are further
   hereby olficially appointed as Trustee to said Estate.
   Take notice that as appointed Trustee, you are herein and hereh) \varranted to assist this omce in privately
   proeessing the attached Instruments and settling .all of the aeeounts rererenced on the instruments, for and oo
   behalf of thi.."I> Estate.
   You are furthermore warranted to ctf<ilCtively notify the ls.suers of iill encl(lSCd debt instruments that the
   delinquent accounts they represent ane now beins settled exclusively by yoor omce.

   Finally, let it be known that this notice and the appointment it granted are but my Peaceful effort to assist in the
   reduction of the United States def'icit.

   Thanks in advance for your kind assistance,
                                                                        govern yourself accordingly.




                                                                         Union.
                                                                         Nation New Jersev.
                                                                         united States of America.
                                                                         Near. [07033}




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             c.   In furtherance of his "debt elimination" scheme, King mailed
the following bogus Money Orders to the Department of Treasury (redacted):

                                        (1)            Credit Card Account:


                                                                      MONEY ORDER

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                                         (2)           Credit Union:


                                                                      MONEY ORDER

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                                                                                                                                                                           DOLLARS

  Memo: Fm: IKltleoo:al ef11ny1111t 1Wmln!r;




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     GER.lf.411\'li l:IOJMRD           KING, Estate.
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                                         (3)            Home improvement retailer:


                                                                       MONEY ORDER

  Pay to the onler of:      . . . . . . .IJtw.i..._____________________ for                                                                                $    1.700.00


                                                                                                                                                                            DOLLARS

                                                                           U'lfl

    GERh/;11.INE llOlf:1RIJ II.ING, Estate.
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    l'lew Jersey; lf1tit1td Stain of .4-rica; /fl708JJ
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             d.    The above Money Orders are fraudulent for the same reasons
set forth in Paragraph 4d above.

      11.   Luxury Vehicle Fraud

            a.    A company located in Georgia provided financing for the
purchase of luxury cars ("Leasing Company One"). A company located in
Texas provided financing for the purchase of luxury cars ("Leasing Company
Two").

            Car One

            b.    In or about March 2013, Dxrams leased a 2012 Bentley (the
"Car One") from an auto dealer in New Jersey, and Leasing Company One was
assigned the rights under the lease. Thereafter, Dxrams requested a payoff
amount, seeking to convert the lease on Car One into a purchase. As of in or
about February 201 7, the total payoff amount for Car One was approximately
$93,235.

            c.    On or about February 27, 2017, Reynolds mailed and caused
to be mailed fraudulent Cashier's Check in the amount of $101,000 to Leasing
Company One as a payoff of the note on Car One. 7 This fraudulent Cashier's
Check contained Reynolds' name, her social security number, and her
signature. This Cashier's Check is fraudulent for the same reasons set forth in
Paragraph 5m above.

            d.   Although fraudulent, Leasing Company One accepted the
Cashier's Check as a payoff of Car One.

             e.   In or about March 28, 201 7, Dxrams sold Car One to a third
party for approximately $82,000. Dxrams then issued a bank check, in the
approximate amount of $25,000, to King. On or about March 30, 2017, King
deposited this check into his bank.

             f.     In or about June 2017, Leasing Company One filed a lawsuit
in Superior Court of New Jersey, Essex County, Law Division against Dxrams,
alleging breach of contract and fraud and seeking damages. On or about July
12, 2017, Dxrams filed a lawsuit in federal court in the District of New Jersey,
seeking to remove the state court proceeding into federal court. In his federal
filing, Dxrams alleged that Leasing Company One had violated federal law by
trying to collect on a debt (i.e., the note on Car Two). As part of his federal
filings, Dxams publicaly filed a copy of the fraudulent $101,000 Cashier's


       7.    The fraudulent payoff amount was approximately $7, 700 more than the
actual payoff amount.


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Check described on Paragraph 1 lc above. The court dismissed his removal
suit.
           Car Two

             g.    In or about March 2015, Dxrams leased a 2015 Mercedes-
Benz ("Car Two") from an auto dealer in New Jersey, and Leasing Company Two
was the lender. Thereafter, Dxrams requested a payoff amount, seeking to
convert the lease on Car Two into a purchase. As of in or about February
2017, the total payoff amount for Car Two was approximately $44,493.

            h.     On or about February 27, 2017, Reynolds mailed and caused
to be mailed a fraudulent Cashier's Check in the amount of $51,000 to
Mercedes-Benz Financial as a payoff of the note on Car Two. This fraudulent
Cashier's Check contained Reynolds' name, her social security number, and
her signature. Although fraudulent, Leasing Company Two accepted the
Cashier's Check as a payoff of Car Two and released title of Car Two to
Dxrams. After determining that the payment was fraudulent, on or about
March 10, 2017, Leasing Company Two sent a letter to Dxrams, advising him
that the $51,000 payment was "returned unpaid by the bank. This is a serious
matter." In this letter, Leasing Company Two also demanded a valid certified
check as a payoff of the car or that he return Car Two's title to Leasing
Company Two.

            i.    On or about May 2, 2017, Reynolds mailed and caused to be
mailed another fraudulent Cashier's Check in the amount of $53,000 to
Leasing Company Two as a purported payoff Car Two. This fraudulent
Cashier's Check contained Reynolds' name (but not her social security number)
and her apparent signature. In July 2017, Dxrams returned title to Car Two
to Leasing Company Two.

           J.     The above referenced Cashier's Checks are fraudulent for
the same reasons set forth in Paragraph 5m above.

           Car Three

             k.    In or about February 2016, Dxrams leased a 2016 Mercedes-
Benz ("Car Three") from an auto dealer in New Jersey, and Leasing Company
Two was the lender. Thereafter, Dxrams requested a payoff amount, seeking to
convert the lease on Car Three into a purchase. As of in or about February
2017, the total payoff amount for Car Three was approximately $102,983.

            1.    On or about June 21, 2017, Reynolds mailed and caused to
be mailed a fraudulent Cashier's Check in the amount of $116,000 to Leasing
Company Two as a payoff of the note on Car Three. This fraudulent Cashier's
Check contained Reynolds' name and her social security number. Her
signature on this Cashier's Check appears to have been signed by another

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individual. This Cashier's Check is fraudulent for the same reasons set forth in
Paragraph Sm above.

       12.     Credit Card Fraud

            a.     In an effort to fraudulently payoff and discharge debts and
other financial obligations, Reynolds mailed fraudulent money orders and
cashier's checks to credit card companies, lenders, and other entities, as
follows:

Date····•·······    Pavcie <    ...           rrAJnouht   G.~:neral. Description / Remarks
                                      ·····
January 21,         Credit card               $6,000      Fraudulent Cashier's Check,
2017                company                               bearing Reynolds' signature
                    headquartered                         and social security number,
                    in Virginia                           that falsely claimed to be
                                                          issued by the Department of
                                                          Treasury.
 February 23,       Large retail              $5,000      Fraudulent Cashier's Check,
 2017               store (credit                         bearing Reynolds' signature
                    card)                                 and social security number,
                                                          that falsely claimed to be
                                                          issued by the Department of
                                                          Treasury.
 February 23,       Utility company $5,000                Fraudulent Cashier's Check,
 2017                                                     bearing Reynolds' signature
                                                          and social security number,
                                                          that falsely claimed to be
                                                          issued by the Department of
                                                          Treasury.
 February 27,       Credit card               $5,000      Fraudulent Cashier's Check,
 2017               company                               bearing Reynolds' signature
                    headquartered                         and social security number,
                    in Virginia                           that falsely claimed to be
                                                          issued by the Department of
                                                          Treasury.
 February 27,       Credit card               $5,000      Fraudulent Cashier's Check,
 2017               company                               bearing Reynolds' signature
                    headquartered                         and social security number,
                    in Virginia                           that falsely claimed to be
                                                          issued by the Department of
                                                          Treasury.




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 March 11,                            Credit card             $15,000       Fraudulent Cashier's Check,
 2017                                 company                               bearing Reynolds' signature
                                      headquartered                         and social security number,
                                      in Virginia                           that falsely claimed to be
                                                                            issued by the Department of
                                                                            Treasury.
 March 20,                            Large retail            $3,000        Fraudulent Cashier's Check,
 2017                                 store (credit                         bearing Reynolds' signature
                                      card)                                 and social security number,
                                                                            that falsely claimed to be
                                                                            issued by the Department of
                                                                            Treasury.
 May2, 2017                           Credit card             $8,500        Fraudulent Cashier's Check,
                                      company                               bearing Reynolds' signature
                                      headquartered                         and social security number,
                                      in Virginia                           that falsely claimed to be
                                                                            issued by the Department of
                                                                            Treasury.

           b.     The Cashier's Checks referred to above are fraudulent for the
same reasons set forth in Paragraph Sm above.




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